                                                                                 Case 3:12-cv-03736-MMC Document 29 Filed 02/08/13 Page 1 of 1



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                                                                                                         IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                               For the Northern District of California




                                                                         11   GREGORY SCOTT MARTINEZ,                             No. C 12-3736 MMC
United States District Court




                                                                         12                 Plaintiff,                            ORDER TO SHOW CAUSE
                                                                         13     v.
                                                                         14   CALIFORNIA HIGHWAY PATROL, et al.
                                                                         15                 Defendants.
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                                                                                     On February 8, 2013, plaintiff failed to appear as ordered at a regularly scheduled
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                                                                              Case Management Conference in the above-titled action. Counsel for defendants
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                                                                              appeared.
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                                                                                     Accordingly, plaintiff is hereby ordered to show cause, in writing, filed with the Court
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                                                                              and served on opposing counsel no later than February 22, 2013, why the case should not
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                                                                              be dismissed for failure to prosecute.
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                                                                                     If plaintiff fails to timely respond to this Order, the case will be dismissed pursuant to
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                                                                              Rule 41(b) of the Federal Rules of Civil Procedure.
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                                                                                     IT IS SO ORDERED.
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                                                                              Dated: February 8, 2013
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                                                                                                                                    MAXINE M. CHESNEY
                                                                                                                                    United States District Judge
